EXHIBIT 5
          Mobility Workx, LLC
                     v.
Cellco Partnership, D/B/A Verizon Wireless
  Civil Action No.: 4:17-CV-00872-ALM

                 P.R. 3-1
      Disclosure of Asserted Claims
      and Infringement Contentions

                                             June 29, 2018




           U.S. Pat. No.: 7,231,330
      Asserted Claim(s): 1, 3, and 4
     Accused Product(s): LTE Network
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Defendant's Accused Products
     MWx accuses Defendant’s Testing Service and Systems of infringing the ‘330 Patent:

     Upon information and belief, Verizon’s Device Testing Service uses a system for emulating mobile network communications by
     modeling and testing various mobile network configurations, scenarios, and/or test plans. Upon information and belief, Verizon
     provides Test Entrance Criteria Checklists for the devices it tests, and Verizon conducts device testing at it’s Device Testing Lab, related
     to LTE Data transmission and reception.

     Upon information and belief, Verizon’s Device Testing Service includes at least the following products:
     • Spirent SR3452 V2 CDMA Network Emulator
     • SR3462 1xEV-DO Network Emulator
     • Spirent AirAccess C2K Application Software
     • SR5048 Test Configuration Unit for RF switching
     • Spirent E2010S LTE Network Emulator
     • Spirent 8100 Mobile Device System


     The Verizon Testing Service and systems, as a whole, including the aforementioned products and services associated therewith, is
     referred to as the Accused Product. However, discovery is ongoing and MWx reserves the right to amend and/or supplement the
     Accused Product list as necessary.




Source: http://money.cnn.com/video/technology/2016/02/22/verizon-device-testing.cnnmoney/
